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                         United States of America v. Kaleb Cole
                                     CR20-32-2 JCC
                                    Trial Witness List

                         Name                                Date(s) Testified

Hilary Bernstein                                                  9/28/2021


Mala Blomquist                                                    9/28/2021


Miri Cypers                                                       9/27/2021


BOP Senior Correctional Officer Jerrold DeRoche                   9/28/2021


FBI Special Agent Steven Haughton                                 9/28/2021


Christopher Ingalls                                               9/27/2021


John Powers                                                       9/28/2021


David Rosenbaum                                                   9/27/2021


Veronica Rudie                                                    9/28/2021


FBI Special Agent Kate Murphy

FBI Special Agent Jayme Poteet                                    9/28/2021


FBI Special Agent Steven Thames

FBI Undercover Officer                                      9/27/2021, 9/28/2021


Confidential Human Source                                         9/28/2021
